           Case 17-14905-amc                         Doc 66           Filed 05/13/19 Entered 05/13/19 15:25:38                                        Desc Main
                                                                      Document     Page 1 of 2

                                    L-.B.F. 2016-2C "Supplemental" Application of Counsel for Debtor
                                 for Compensation and Reimbursement of Expenses for Post Confirmation
                                                Services Payable by the Chapter 13 Trustee

                                                        UNITED STATES BANKRUPTCY COURT
                                                        EASTERN DISTRICT OF PENNSYLVANIA

                                      In re:                                                       )            Chapter 13
                                                        Priscilla Stuart                           )
                                                                                                   )
                                                                                                   )
                                                                               Debtor              )            Bankruptcy No.17-14905

                                                   SUPPLEMENTAL APPLICATIONS FOR
                                            COMPENSATION AND REIMBURSEMENT OF EXPENSES
                                             FOR SERVICES PERFORMED AFTER CONFIRMATION
                                                          OF CHAPTER 13 PLAN

                                               ................................................................................................
                                                                             Brad J. Sadek, Esquire

applies under § 330 of the Code for an order directing the chapter 13 trustee to pay an award of compensation and
reimbursement of actual, necessary expenses for services performed after confirmation of the debtor's chapter 13 plan and
represents:

1. Applicant is counsel for debtor.

2. The debtor filed a petition under chapter 13 of the Bankruptcy Code on July 20, 2017

3. The debtor's chapter 13 plan was confirmed by the court on January 17, 2018

4. The debtor paid the applicant $ 1,610.00 prior to the filing of the chapter 13 petition.

5. Applicant's prior applications:

      First Application Period

       July 20, 2017         to December 21, 2017                    Date of Order January 22, 2018

                                           Requested                               Allowed                                      Paid                            Due
 Fees                                $        3,500.00                   $       3,500.00                         $       1,610.00                $        0.00

 Expenses                            $                                   $                                        $                               $

    Second Application Period
      to   Date of Order

 Fees                                $                                   $                                        $                               $
 Expenses                            $                                   $                                        $                               $
 Grand Totals                        $                                   $                                        $                               $

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           Case 17-14905-amc                         Doc 66          Filed 05/13/19 Entered 05/13/19 15:25:38           Desc Main
                                                                     Document     Page 2 of 2


6. Applicant requests an award of supplemental compensation of $ 1,510.00 for 6.2 hours expended in providing the
   following services: Drafting and filing of amended schedules, motions, response and modified plan; Communication
      with client and mortgage company's counsel

7. Applicant requests that compensation be awarded at the following hourly rate(s): $335.00/hour per attorney and
      $125.00/hour per paralegal

8. Applicant requests reimbursement of expenses in the amount of $ 0 for the following expenses

9. A copy of the applicant's disclosure of compensation pursuant to F.R.B.P. 2016(b) is attached as Exhibit "A"

10. Attached as Exhibit B is a copy of the applicants time records setting forth the dates and amount of time expended for
    the services performed on behalf of the debtor after confirmation of debtor's chapter 13 plan.

11. All services rendered and expenses incurred for which compensation or reimbursement is requested

                  a. were performed or incurred for or on behalf of the debtor, the services and expenses were actual and
                  necessary, and the compensation requested for those services is reasonable; and

                  b. are not duplicative of services and expenses for which compensation or reimbursement was previously
                  requested.

12. If this supplemental application is granted, the debtor's confirmed chapter 13 plan (check whichever is applicable)

                       is adequately funded.

                       is not adequately funded.

13. None of the compensation paid to applicant will be shared with any person other than a member or regular associate
    of applicant's law firm unless 11 U.S.C §504(c) applies.

WHEREFORE, Applicant requests an award of $ 1,500.00 in compensation and of $ 0 in reimbursement of actual,
necessary expenses.

        Dated:         May 13, 2019                                         Signed:    /s/ Brad J. Sadek, Esquire
                                                                                                            Applicant

                                                                                By: Brad J. Sadek, Esquire
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